Case 1:10-cr-00317-REB Document 735-15 Filed 01/17/14 USDC Colorado Page 1of4

NOTICE OF AND RESCISSION OF
NOTICE OF APPEAL FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10--r-00317-REB Document 279 Filed 08/30/11 USDC Colorado Page 1 of 1
Case No. 10-cr-00317-REB NOTICE OF APPEAL Richard Kellogg Armstrong" "Document 279-1
copy of mailing envelope addressed to CLERK OF THE COURT 10CR-317, Page 2 of 2"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original Case 1:10-cr-00317-REB Document 279
Field 08/30/11 USDC Colorado Page 1 of 1 Case No. 10-cr-00317-REB NOTICE OF APPEAL Richard
Kellogg Armstrong" "Document 279-1 copy of mailing envelope addressed to CLERK OF THE COURT
10CR317, Page 2 of 2" including every copy bearing my signature and date, for cause. I
made a mistake creating, signing, presenting and filing the NOTICE OF APPEAL. I repent

of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Lamy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your frjend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." >"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

UNITED STATES DISTRICT COURT Sincerely
NE SOL “
eee. Keak jdllegg, Qacating
JAN 17 2014 Richard Kellogg Armstrong
c/o 20413-298
JER aca e COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

Footnotes: lproverbs 6:1, *Proverbs 6:2, >Proverbs 6:3, 4proverbs 6:4, 5Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
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Case 1:10-cr-00317-REB Document 279 Filed 08/30/11 USDC Colorado Page 1 of 1

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

FROM: 20413298
TO:

  

SUBJECT: Notice FILED
DATE: 08/25/201 \ UNITED svat ea COURT

August 25, 2011 AUG 36 201
Richard Kellogg ng

20413-298 . GREGORY C. LANGHAM

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t
Federal Detention Englewood \ CLERK
9595 Quincy Ave.
Littleton, CO 8012
UNITED STATES ICT COURT COLORADO
UNITED STATE. ERICA Case No. 10-cr-00317-REB
Plaintiff
v. .
RICHARD KELLO RMSTRONG {

 

Defendan'

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REQUEST THAT THE ius ee GNIZE
Haines v. Kerner 404 U.S.,

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NOTICE OF APPEAL :
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COMES NOW, Richard Kellogg Armstrong, Defendant, pro se. \

N )
Defendant appe he Tenth Circuit Court of Appeals regarding United States District Court's Order #273, lated August
23, 2011, denying uest for judge's recusal. '

CERTIFICATE OF|\SE \
On this the_ 2 fa day of sp Ub YST~, a true attd-correct copy of the foregoing was sent by First ¥lass nail or
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Richard Kellogg we
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Case 1:10-cr-00317-REB Document 279-1 Filed 08/30/11 USDC Colorado P
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Case 1:10-cr-00317-REB—Bocument 279-1 Filed 08/30/11 USDC Colora

 

   

    

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FOR FURTHER INFO" 8 ARIF

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